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EXHIBIT D
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KIRKLAND & ELLIS LLP

AND APALIATED PARTNERSHIPS,

300 North LaSalle Street
Chicago, IWinos 60654

Richard C. Gadfrey, P.C.

To Call Writer Directly: (312) 862-2000 Facsimile:
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June 25, 2010

BY FIRST CLASS MAIL AND FACSIMILE

James W. Ferguson Halliburton Energy Services, Inc,
Vice President & Deputy General Counsel 1401 McKinney Street, Suite 2400
Halliburton Energy Services, Inc, Tlouston, ‘Texas 77010

2107 CityWest Blvd., Bldg. 4-1319A ATTN: Merv Swan

llouston, Texas 77042-3051 Fax; 713-759-2622

Fax: 713-839-4565

Re: = Decpwater Horizon Indemnitics

Dear Mr. Ferguson:

I am in receipt of your Ictter dated May 5, 2010 regarding the indemnity provisions in the
April 15, 2009 Contract for Gulf of Mexico Strategic Performance Unit Offshore Well Services
between BP Exploration and Production, Inc, and Halliburton Energy Services, Inc. BPM-09-
00255 (the “Contract”). We appreciate your reaching out to us on these important matters and
are hopeful that we may be able to reach agreement in how to proceed on these issues,

BP feels strongly that, as a top priority, BP and Halliburton should cooperate to address
and resolve, as promptly as possible, the claims of the workers and heirs of workers who suffered
personal injury onboard the Deepwater Horizon on April 20, 2010, As discussed in detail below,
we are interested in coordinating with you regarding these claims to provide an expeditious and
just outcome for those who were injured,

BP also hopes to work with Halliburton in respect to the issues and claims that may
implicate the pollution and contamination indemnity provisions of the Contract. These
indemnity issues, however, are intertwined with the ongoing investigations and the allegations in
the claims asserted to date. ‘hus, at this time, BP cannot determine that it is obligated to detend
or indemnify Halliburton, Accordingly, BP reserves its rights, and acknowledges that
Halliburton may want to do the same, in tegard to the indemnities set forth in the Contract. In
the meantime, BP recommends that we jointly focus our immediate attention on the prompt and
fair resolution of the personal injury claims, Our position is more fully set out below.

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Personal Injury Claims, Clause 19.1(b) of the Contract provides that Halliburton shall
defend and indemnify and hold harmless BP from all claims by the employees of Halliburton and
its subsidiaries, affiliates or contractors, for personal injury that are related to work performed
under the Contract. Under Clause 19.1(b), and any other applicable provisions, BP hereby
tenders to Halliburton the defense and indemnity of BP in all actions for personal injury filed by
an employee of Halliburton, or any affiliate or contractor, arising out of the Deepwater Horizon
incident, This tender includes, but is not limited to, the defense and indemnity of the personal
injury claims of Christopher Haire, a Halliburton employee who is a plainuff in Davis, et ai. v.
Cameron Int'l Corp., et al., which previously was pending in the District Court of Harris County,
Texas as Case No. 2010-27591 and has been removed and currently is pending as Case No. 4:10-
cv-01852 in the Southem District of Texas, Houston Division, as well as the personal injury
claim of Cathleena Willis, an employee of Sperry Sun which we understand to be an affiliate of
Halliburton, filed in Xritzer, ef al. v. Transocean Offshore Deepwater Drilling Ine., et al., which
previously was pending as Cause No. 62,738 in County Court Three, Galveston County, Texas
and has been removed und currently is pending as Casc No. 4:10-cv-01 854, United States
District Court for the Southern District of Texas, Galveston Division. BP’s tendering of claims
under Clause 19.1(b) is without prejudice to any other rights BP may have. 3P has retained
Kirkland & Ellis LLP and Andrews Kurth LLP to represent it in the claims and suits in question,
and BP requests that these firms continue to represent BP if [Jalliburton accepts (he tender.
Given BP’s rcservation of its rights on the pollution and contami nation indemnities, as discussed
below, BP will understand and uccept that Halliburton may likewise want to reserve its rights
regarding the Clause 19.1 indemnity,

Setting aside the ultimate responsibilities under the Contract for the personal injury
claims, BP is committed to a prompt and fair resolution of ull personal injury claims related to
the Decpwater Horizon incident, including those brought by Ilalliburton’s employees.
Accordingly, with BP’s approval, 1 have asked John Hickey to serve as BP's liaison to
coordinate with Halliburton over the handling of all of the personal injury claims, 1 have
requested that John contact you to arrange a meeting with whomever will serve as [alliburton’s
liaison for these claims, My hope is that this mecting will produce agreement for how to proceed
in bringing these claims 1o a prompt and fair resolution, while reserving to BP and Halliburton
all of their respective defenses toward both the claimants,

Pollution and Contamination Indemnities. In regard to the indemnities set forth in
Clauses 19,4 and 19.6 of the Contract, the situation is complex, both factually and legally, and
Wwe think it is premature for cither BP or Halliburton to take a definitive position. BP,
congressional subcommitices, goverment agencies, and others continue to examine the causes
of the Deepwater Ilorizon incident and the conduct and obligations of the various parties, and
plaintiffs continue to file additional lawsuits with allegations regarding the facts. In addition,
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your letter does not identify the factual and legal predicates on which Ialliburton intends to rely
in invoking Clauses 19.4 and 19.6. Accordingly, at this time, BP cannot conclude that it is
obligated to defend or indemnify Halliburton, Indeed, the facts may prove that Halliburton js
obligated to defend and indemnify BP or that Halliburton has materially breached the Contract in
Tespect to these matters or otherwise is not entitled to indemnification from BP.

Additional contract provisions are also relevant to this question. For example, under
Clause 4.2 of the Contract, Halliburton “shall carry out all of its obligations under the Contract
and shall cxecute the Work with all due care and diligence and with the skill to be expected of a
reputable contractor experienced in the types of work to be carried out under the Contract.”
Likewise, Clause 4.3 provides that [Halliburton “shall take full responsibility for the adequacy,
stability, health, safety, and environmental protection of all its operations and methods necessary
for the performance of the Work ... .”

In addition, under applicable law BP may not be obligated to defend or indemnify
Halliburton based on the facts alleged in the pending actions, including but not limited to the
allegations that Halliburton was grossly negligent. See, ¢.g., Todd Shipyards Corp. v. Turbine
Service, Inc., 674 F.2d 401, 411 (5th Cir. 1982) (“|g}ross negligence ... will invalidate an
exemption from liability”); Smith y. Golden Triangle Raceway, 708 S.W.2d 574, 576 (Tex. App.
1986); Broom v. Leebron & Robinson Rent-A-Car, Inc., 626 So. 2d 1212, 1216 (La. Ct. App.
1993). Many of the lawsuits allege that Halliburion was grossly negligent,

Further, if Halliburton’s acts matcrially increased the risk, or prejudiced the rights, of BP,
then BP may not be obligated to defend or indemnify Halliburton. See /liern y. St. Paul-
Mercury Indem, Co., 262 F.2d 526, $29 (Sth Cir. 1959) (setting forth the “general rule of law
that any act on the part of an indemnitee which materially increases the risk, or prejudices the
rights, of the indemnitor, will discharge the indemnitor under the contract of indemnity”); Gen.
Ins. Co. of Am. v. Fleeger, 389 F.2d 159, 161 n. 3 (Sth Cir. 1968) (“an act on the part of an
indemnitee which materially increases the risk or prejudices the right of the indemnitor will
discharge the indcmnitor to the extent that he has been damaged as a result of that act”). Many,
if not all, of the lawsuits allege that Halliburton was negligent, grossly negligent, or engaged in
willful misconduct that, if tue, would have materially increased BP's risks or prejudiced its
rights.

Because the facts are not sufficiently developed on these issucs, BP reserves ull of its
tights in respect to Clauses 19,4 and 19.6, and we propose, and are willing to accept, a reciprocal
reservation of rights from Halliburton, If Halliburton is nol prepared to reserve its rights on
these issues, then we respectfully request that you identify the operative facts and law that you
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belicve establish, at this time, Halliburton’s right to indemnification under Clauses 19.4 and 19.6
so that BP may consider these.

Pleasc let me know if I should direct this letter to another authorized Halliburton
representative. Please direct any response in regard to these issues to me, and, as indicated
above, please coordinate with John Hickey in regard to the personal injury cases, Thank you for
your careful attention to this matter, and do not hesitate to call should you have any questions or
would like to discuss any issucs raised in this letter.

Sincerely,

“Rt © fot.

Richard C, Godfrey,P.C. "97 y t.<.
